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                                           Corrected

           In the United States Court of Federal Claims
                                            No. 21-1874
                                      Filed: October 22, 2021


 MARK W. NATION, et al.,

                     Plaintiffs,

 v.

 THE UNITED STATES,

                     Defendant.


                                    ORDER OF DISMISSAL

        Plaintiffs, incarcerated at the William P. Clements Unit, a state prison in Amarillo, Texas,
correctly assert that laws are intended to assist the deceived rather than those who deceive.
(Compl. Ex. B at 39, ECF 1-2). That self-acknowledged proposition, one of the few contentions
within Plaintiffs’ filings with which the Court agrees given the context in which they were
offered, dooms this action. Because the claim is fraudulently premised, Plaintiffs’ claims are
frivolous, fail to state a claim for relief, and must be dismissed pursuant to 28 U.S.C. 1915.

        Twelve Plaintiffs bring this pro se action against the United States acting through the
state of Texas. (Compl. at 1, 3, ECF No. 1). They bring this action seeking to enforce a supposed
arbitration award that was allegedly entered on August 19, 2019 and joined by Plaintiffs in
August 2020. (Compl. at 4; Compl. Ex. F at 122–145). Pursuant to that invalid arbitration award,
they assert entitlement to wide-ranging relief. Among other things, Plaintiffs seek (1) immediate
release from incarceration; (2) the voiding of all pending and adjudicated cases regarding
Plaintiffs; (3) indemnification; (4) immunity; (5) documentation of indemnification and
immunity; (6) return of all property seized, or payment of its market value; (7) the expunging
and destruction of all records regarding Plaintiffs; (8) immediate issuance of a land patent; (9)
return of all accounts; and (10) payment of monetary damages. (Compl. at 7–9).

         A pro se plaintiff’s pleadings are generally held to “less stringent standards” than those of
a professional lawyer. Haines v. Kerner, 404 U.S. 519, 520–21 (1972). However, the Court must
dismiss a claim that is frivolous or malicious, fails to state a claim upon which relief may be
granted, or seeks monetary relief from a defendant who is immune from such relief. 28 U.S.C. §
1915(e)(2)(B). A claim is frivolous when it “lacks an arguable basis either in law or in fact.”
Neitzke v. Williams, 490 U.S. 319, 324–25; see also Denton v. Hernandez, 504 U.S. 25, 33
(1992) (concluding that “a finding of factual frivolousness is appropriate when the facts alleged
rise to the level of the irrational or the wholly incredible”). Courts may “dismiss claims
describing fantastic or delusional scenarios, claims with which federal judges are all too
familiar.” Neitzke, 490 U.S. at 328. The Court’s leniency does not extend to jurisdictional issues.
Kelley v. Sec’y, U.S. Dep’t of Labor, 812 F.2d 1378, 1380 (Fed. Cir. 1987). The Court lacks
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jurisdiction to review criminal decisions, state court actions, or direct action by state agencies.
Lawton v. United States, 621 F. App’x 671, 3 (Fed. Cir. 2015) (“The Court of Federal Claims
lacks jurisdiction over states, state officials, and state agencies.”); Mercer v. United States, 2016-
1857, at *3 (Fed. Cir. Aug. 8, 2016) (the Court of Federal Claims “lacks jurisdiction to consider
claims amounting to ‘collateral attacks’ on criminal convictions.”); Joshua v. United States, 17
F.3d 378, 379 (Fed. Cir. 1994) (the Court of Federal Claims “has no jurisdiction to adjudicate
any claims whatsoever under the federal criminal code[.]”).

        The arbitration “award” Plaintiffs rely on is from Sitcomm Arbitration Association.
(Compl. Ex. D at 102). This “award” represents one of what has been described as an “influx of
fake arbitration awards” over the last few years. Castro v. Bank of New York Mellon, 2020 WL
2542864 (W.D.N.C. May 19, 2020). This particular award, which is attached to the Complaint,
purports to be the resolution of a matter between Phillip Hudok and former President Donald
Trump, Chief Justice John Roberts, Senator Charles Grassley, Speaker of the House Nancy
Pelosi, former Attorney General William Barr, and other United States officials. (Compl. Ex. D
at 81–101). This arbitration award is entirely unrelated to the named Plaintiffs, except that the
award purportedly permits any natural-born person to “opt-in” to the terms of award, receiving
the relief granted therein. (Id.). Plaintiffs claim they have opted into this award and have
provided the Defendants with notice of their new opt-in status. (Compl. Ex. F at 115).

        Sitcomm’s “award” is freely available for download on the internet, discoverable by a
simple Google search, and includes instructions for how to opt into the award’s remedies. 1 This
case is not the first time a convicted criminal has sought to enforce a Sitcomm Arbitration
Association “award” in federal court. The federal district courts are uniformly skeptical about the
validity of the Sitcomm Arbitration Association and its decisions. See, e.g., Meekins v. Lakeview
Loan Servicing, LLC, No. 19-CV-501, 2019 WL 7340300, at *3 (E.D. Va. Dec. 30, 2019) (“The
Court expresses great skepticism about the validity of [the Sitcomm Arbitration Association] as


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  The language of the award and surrounding documents reflects hallmarks of the sovereign
citizen movement. For example, Plaintiffs’ utilization of their fingerprints in blue ink in or near
their signatures, and the use of brackets surrounding zip codes, are recognized by the Federal
Bureau of Investigation’s Domestic Terrorism Operations unit as possible indicia of sovereign
citizen activity. Federal Bureau of Investigation, Domestic Terrorism Operations Unit II,
Sovereign Citizens: An Introduction for Law Enforcement,
https://info.publicintelligence.net/FBI-SovereignCitizens.pdf (last accessed October 21, 2021).
The sovereign citizen movement is known to “clog up the courts with indecipherable filings.
Federal Bureau of Investigation, News Stories, Domestic Terrorism: The Sovereign Citizen
Movement, https://perma.cc/6PDP-KYU6 (last accessed October 21, 2021). And interestingly,
the Anti-Defamation League notes that the Sitcomm Arbitration Association, “is actually
operated by a California sovereign citizen activist” which further suggests ties or similarities to
the sovereign citizen movement. Anti-Defamation League, New Sovereign Citizen Bogus
“Arbitration” Tactics Appearing in Many States, https://perma.cc/5Z2P-6JSA (last accessed
October 21, 2021). Even if Plaintiffs actually profess to be sovereign citizens, they—like so
many other sovereign citizens—have difficulty explaining the dichotomy of rejecting
governmental authority while simultaneously accepting the authority of this and other Courts in
an effort to legitimize their claims.

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an arbitration entity. Indeed, courts around the country have expressed doubts regarding SAA’s
validity.”); Magee v. Nationstar Mortg., LLC, No. 19-MC-017-H, 2020 WL 1188445, at *1
(N.D. Tex. Mar. 11, 2020) (explaining “[t]his is one of the many cases in recent months where a
court has repudiated an arbitration award made by Sitcomm”) (collecting cases); Renaud v.
Trump, No. 20-CV-9248, 2021 WL 293570 (S.D.N.Y. Jan. 28, 2021) (finding Plaintiff’s reliance
on a Sitcomm Arbitration Association award was “irrational”); Martinez v. Trump, No. 20-CV-
9651, 2021 WL 797645, at *1 (S.D.N.Y. Feb. 26, 2021) (rejecting an arbitration award from
Sitcomm Arbitration Association as an invalid document); Stephen-Philbert: RENAUD v.
Trump, No. 21-CV-1023, 2021 WL 2337655, at *5 (S.D.N.Y. June 7, 2021) (dismissing the
Plaintiff’s claim because it “rise[s] to the level of the irrational” and presents “no legal theory on
which [plaintiff] can rely.”); Anderson v. United States, No. 21-CV-1889, 2021 WL 2417157
(S.D. Tex. June 14, 2021) (finding that the Hudok Sitcomm Arbitration Award “bears no
hallmarks of a legally binding . . . document.”).

        Similarly, this Court finds that the Sitcomm Arbitration Association’s “award” is not a
valid legal document. It is gibberish. The Plaintiffs who are frivolously seeking release from
prison and financial compensation from United States taxpayers include those convicted of
aggravated sexual assault of children, solicitation and other sex crimes against minors,
aggravated robbery, and capital murder. 2 One court previously admonished Plaintiff Kevin
LaFerney against filing frivolous lawsuits in federal court. Laferney v. Par., No. 17-CV-0024,
2017 WL 3493143 (N.D. Tex. Aug. 15, 2017) (“Plaintiff is WARNED that any further
submission of malicious and frivolous documents in this or in any other cause will lead to a bar
against all new filings and possible imposition of monetary sanctions.”).

        In sum, the Court concludes that the Plaintiffs have joined forces in a fraudulent effort to
escape the sentences following their convictions. Even considering the special consideration due
to pro se plaintiffs, Denton, 504 U.S. at 33, the claims raised here are claim are fanciful,
frivolous, and state no legal basis on which relief may be granted. Because the claims in this case
are based on an “indisputably meritless legal theory,” this action will be dismissed as frivolous
pursuant to 28 U.S.C. § 1915(e)(2)(B). Neitzke, 490 U.S. at 324; see also Stephen-Philbert, 2021
WL 2337655, at *2–3 (dismissing similar claims as frivolous).

        Prisoners, just as any other putative plaintiff, are not permitted to spend their days
abusing judicial processes and harassing officials by filing frivolous and nonsensical claims. The
in forma pauperis statute creates a “three-strike” rule, after which prisoners are stripped of their
right to bring civil claims:

           In no event shall a prisoner bring a civil action or appeal a judgment in a civil
           action or proceeding under this section if the prisoner has, on 3 or more prior
           occasions, while incarcerated or detained in any facility, brought an action or
           appeal in a court of the United States that was dismissed on the grounds that
           it is frivolous, malicious, or fails to state a claim upon which relief may be


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 Information about each of these plaintiffs is publicly available on the Texas Department of
Criminal Justice’s website. Texas Department of Criminal Justice,
https://inmate.tdcj.texas.gov/InmateSearch/start.action.

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           granted, unless the prisoner is under imminent danger of serious physical
           injury.

28 U.S.C. § 1915(g). Each action dismissed on the grounds that it is frivolous, malicious, or fails
to state a claim on which relief may be granted counts as a “strike” against the prisoner who filed
it. Coleman v. Tollefson, 575 U.S. 532, 535 (2015). The Court explicitly finds that the Plaintiffs’
claims are frivolous. However, the Court intends to make abundantly clear that these frivolous
claims count as a strike pursuant to 28 U.S.C. 1915(g). For at least one of the Plaintiffs—Kevin
LaFerney—this is strike two. See Laferney v. Par., 2017 WL 3493143.

        Plaintiffs’ claims are frivolous and do not state a claim that entitles them to relief. Based
on the foregoing, the Court ORDERS as follows:

       (1) Plaintiffs’ Complaint (ECF No. 1) is DISMISSED WITH PREJUDICE as
           frivolous. The Clerk is directed to enter judgment for the United States.

       (2) The dismissal will count as a strike for purposes of 28 U.S.C. § 1915(g) for the
           following parties:

               a. Mark Wayne Nation,

               b. Richard Roderick MacDonald,

               c. Benjamin Wayne Burden,

               d. Frederick Riley Abbott,

               e. Michael Joe Horton,

               f. Corey Shane Norman,

               g. Rudolph Joseph Roethel,

               h. Kerby Terrence Embry,

               i. Kevin Othell LaFerney,

               j. Ray Von Burger, Jr.,

               k. Kenneth Deshawn Edwards, and

               l. Richard Lee Britten.

       IT IS SO ORDERED.

                                                                          David A. Tapp
                                                                       DAVID A. TAPP, Judge


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